    4:15-cv-04638-MGL          Date Filed 08/07/18     Entry Number 194       Page 1 of 12




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                   FLORENCE DIVISION


Julian Ray Betton,                          )        Civil Action No.: 4:15-cv-04638-AMQ
                                            )
                                 Plaintiff, )
                    vs.                     )
                                            )             ORDER AND OPINION
                                            )
Bill Knowles in his individual              )
capacity and official capacity as           )
Commander of the 15th Circuit Drug
Enforcement Unit Task Force; Jimmy          )
Richardson II in his individual             )
capacity and official capacity as 15th      )
Circuit Solicitor; Dean Bishop in his       )
individual capacity; Chad Guess in his      )
individual capacity; Frank Waddell          )
in his individual capacity; Chris Dennis
                                            )
in his individual capacity; David Belue
in his individual capacity; and the City    )
of Myrtle Beach,                            )
                                            )
                              Defendants. )
_______________________________              )

       This matter is before the Court on the Motion for Summary Judgment filed by Defendant

David Belue (“Belue”) (ECF No. 149) and the Motion for Summary Judgment filed by the City

of Myrtle Beach (“Myrtle Beach”). (ECF No. 142.) Plaintiff Julian Ray Betton (“Plaintiff”) filed

this action under 42 U.S.C. § 1983 alleging causes of action against several defendants for

violations of his Fourth and Fourteenth Amendment rights arising from the execution of a search

warrant that resulted in severe injuries to Plaintiff and rendered him a paraplegic. (ECF No. 1,

102.) Plaintiff also alleged several accompanying state law claims against the Defendants.




                                                 1
 
    4:15-cv-04638-MGL          Date Filed 08/07/18      Entry Number 194        Page 2 of 12




         In accordance with 28 U.S.C. § 636(b)(1)(B) and Local Civil Rule 73.02(B)(2)(d)

(D.S.C.), the matter was referred to a United States Magistrate Judge for pretrial handling. On

May 21, 2018, Magistrate Judge Kaymani D. West, issued a report and recommendation

(“Report”) recommending that Belue’s Motion for Summary Judgment be granted in part and

denied in part. The Magistrate Judge further recommends that Myrtle Beach’s Motion be denied.

(ECF No. 173.) Belue and Myrtle Beach filed Objections to the Report (ECF Nos. 180, 181) and

Plaintiff filed Responses to Belue and Myrtle Beach’s Objections to the Report. (ECF Nos. 191,

192).    For the reasons set forth herein, the Court adopts the Report and Belue’s Motion for

Summary Judgment is hereby GRANTED in part and DENIED in part as set forth more fully

below.    (ECF No. 149.)     Additionally, Myrtle Beach’s Motion for Summary Judgment is

DENIED as further set forth below. (ECF No. 142.)

                      BACKGROUND AND PROCEDURAL HISTORY
         The Report sets forth in detail the relevant facts and standards of law, and the Court

incorporates them and summarizes below in relevant part. Before this Court are Motions for

Summary Judgment filed by Defendants Belue and Myrtle Beach. On or around January 11,

2018, the parties in this action participated in a mediation which resulted in a settlement of the

claims as to all Defendants except Belue and Myrtle Beach. A stipulation of dismissal as to all

claims asserted by Plaintiff against Defendants Bill Knowles, Jimmy Richardson, II, Dean

Bishop, Chad Guess, Frank Waddell and Chris Dennis was entered on March 27, 2018, ending

the case against those Defendants with prejudice. (ECF No. 167.) Non-settling Defendants

Myrtle Beach and Belue filed their Motions on January 5, 2018 and February 15, 2018,

respectively.

         In his Amended Complaint, Plaintiff brings claims under § 1983 for Fourth Amendment

violations against Myrtle Beach, alleging that it is liable as a municipality for the actions of the
                                                2
 
    4:15-cv-04638-MGL         Date Filed 08/07/18      Entry Number 194        Page 3 of 12




Drug Enforcement Unit (“DEU”), which is the regional drug task force which executed the

search warrant on Plaintiff’s home.     (ECF No. 102.)       Myrtle Beach moves for summary

judgment on the grounds that Plaintiff cannot show that his injuries were caused by action on the

part of Myrtle Beach pursuant to official municipal policy as required by Monell v. New York

City Dept. of Social Servs., 436 U.S. 658 (1978). (ECF No. 142.)

       Plaintiff asserts three federal claims against Belue: (1) unlawful entry in violation of the

Fourth Amendment; (2) use of excessive force to arrest Plaintiff in violation of the Fourth

Amendment; and (3) excessive force in violation of the Fourth and Fourteenth Amendment as it

relates to Belue’s entry into Plaintiff’s home using SWAT-like tactics. (ECF No. 102.)       Belue

moves for summary judgment on the Fourth and Fourteenth Amendment claims asserted against

him on the basis of qualified immunity. (ECF No. 149-1 at 5.) Belue further claims he is entitled

to summary judgment on the state law claims asserted against him based on the South Carolina

Tort Claims Act (“SCTCA”) and by virtue of Plaintiff’s settlement of claims arising from the

same occurrence with the other Defendants. (ECF No. 149-1 at 25.)

       After consideration of the Motions and the record, the Magistrate Judge issued a Report

recommending that Belue’s Motion for Summary Judgment be granted as to Plaintiff’s § 1983

claim for Fourth and Fourteenth Amendment tactical excessive force violations. (ECF No. 173 at

44.) The Magistrate Judge, however, recommends denying Belue’s Motion on Plaintiff’s Fourth

Amendment causes of action for unlawful entry and excessive force, and on Plaintiff’s remaining

state law causes of action, based on the existence of disputed facts concerning these claims.

(ECF No. 173 at 44.) The Magistrate Judge also recommends that Myrtle Beach’s Motion for

Summary Judgment on Plaintiff’s claims for municipal liability under § 1983 be denied. (ECF




                                                3
 
       4:15-cv-04638-MGL       Date Filed 08/07/18      Entry Number 194        Page 4 of 12




No. 173 at 44.) The parties have filed objections and responses and the Motions and responses

are now ripe for this Court’s review.

                                   STANDARD OF REVIEW

         The Magistrate Judge makes only a recommendation to this Court. The recommendation

has no presumptive weight. The responsibility for making a final determination remains with

this Court. Mathews v. Weber, 423 U.S. 261, 270 (1976). The Court is charged with making a

de novo determination of any portions of the Report to which a specific objection is made. The

Court may accept, reject, or modify, in whole or in part, the recommendation made by the

Magistrate Judge or may recommit the matter to the Magistrate Judge with instructions. See 28

U.S.C. § 636(b)(1). Absent a timely, specific objection—or as to those portions of the Report to

which no specific objection is made—this Court “must ‘only satisfy itself that there is no clear

error on the face of the record in order to accept the recommendation.’” Diamond v. Colonial

Life & Accident Ins. Co., 416 F.3d 310, 315 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72 advisory

committee’s note).

                                ANALYSIS AND DISCUSSION

         After setting forth the facts and the parties’ arguments, the Magistrate Judge carefully

detailed the relevant law, particularly noting the Fourth Amendment’s guarantee and

requirements regarding search and seizure and knock and announce rules. (ECF No. 173 at 10-

12.)     The Magistrate Judge first addressed Belue’s Motion for Summary Judgment with

particular attention to Belue’s potential culpability for the unlawful entry claim.        There is

evidence in the record that Belue was the first agent on Plaintiff’s porch with the ability to knock

and announce the officers’ presence before the entry into the home. (ECF No. 163-5 at 55.) The

Magistrate Judge recommends that a reasonable jury could find that Belue was a direct


                                                 4
 
    4:15-cv-04638-MGL           Date Filed 08/07/18       Entry Number 194         Page 5 of 12




participant in the alleged unlawful entry into Plaintiff’s residence. (ECF No. 173 at 14-16.) The

Magistrate Judge also concludes that a reasonable jury could find that there were no exigent

circumstances to justify a warrantless search, in that the officers created any exigency by

entering Plaintiff’s residence without knocking and announcing first. (ECF No. 173 at 17-18.)

       Next, the Magistrate Judge set forth the relevant law concerning the excessive force claim

with particular attention to the Supreme Court’s opinion in Graham v. Connor, 490 U.S. 386

(1989). (ECF No. 173 at 18.)        After outlining the parties’ arguments, the Magistrate Judge

recommends that questions of fact remain as to what occurred in Plaintiff’s home after the

officers entered, thereby precluding summary judgment on whether Belue and the other officers

used a reasonable amount of force during the confrontation with Plaintiff. (ECF No. 173 at 20-

21.) In light of these recommendations, the Magistrate Judge further recommends that Belue is

not entitled to qualified immunity on either the excessive force or unlawful entry claims, in that

Plaintiff has alleged a constitutional violation of rights that were clearly established at the time of

the violation. (ECF No. 173 at 25-27.)

       As for the third federal claim against Belue for tactical excessive force, the Magistrate

Judge recommends that Belue’s Motion for Summary Judgment be granted. The Magistrate

Judge recommends that Belue is entitled to qualified immunity because he did not make the

decision to use tactical force or SWAT-like tactics as part of the DEU operation. Finally, the

Magistrate Judge also recommends denying Belue’s Motion for Summary Judgment on

Plaintiff’s remaining state law claims as there remain questions of fact concerning Belue’s

alleged unlawful entry and alleged use of excessive force. (ECF No. 173 at 29-30.)

       The Magistrate Judge also addressed the municipal liability claims against the City in the

second part of the Report related to the practices of the DEU. (ECF No. 173 at 32.)               The


                                                  5
 
    4:15-cv-04638-MGL         Date Filed 08/07/18      Entry Number 194        Page 6 of 12




Magistrate Judge specifically responded to Plaintiff’s allegations that Myrtle Beach is liable for

the DEU’s purported practice of violating the Fourth Amendment knock and announce rule in

that it delegated its drug enforcement and policymaking authority to the DEU governing board.

(ECF No. 173 at 33-34.) The Magistrate Judge analyzed the relevant statutory provisions to

recommend a finding by the Court that Myrtle Beach and Chief of Police Warren Gall have

“final policy making authority” over the DEU by virtue of its agreement with the DEU and Chief

Gall’s appointment to the DEU governing board. (ECF No. 173 at 36.) The Magistrate Judge

concluded that a reasonable jury could find that both Myrtle Beach and Chief Gall had actual or

constructive knowledge of the alleged widespread practice or custom of executing standard

search warrants without first knocking and announcing. (ECF No. 173 at 40.) In sum, the

Magistrate Judge acknowledged that a reasonable jury could conclude that the Myrtle Beach’s

failure to address and correct the alleged deficiencies in the DEU search warrant policies and

practices exhibited deliberate indifference for which Myrtle Beach was responsible. (ECF No.

173 at 43-45.)

       Myrtle Beach filed Objections to the Report on June 14, 2018. (ECF No. 180.) Myrtle

Beach claims that the Magistrate Judge erred in reporting that Myrtle Beach delegated its policy

making authority to the DEU and in recommending that the City should be held liable for DEU’s

alleged failure to knock and announce custom or policy in this case. (ECF No. 180 at 2.)

Specifically, Myrtle Beach claims that the Magistrate Judge did not properly analyze the terms of

the City’s Agreement with the DEU to determine who was the final policy maker, nor did she

analyze the statute creating the multi-jurisdictional task force to determine the authority of the

DEU, and ultimately Myrtle Beach’s potential liability. (ECF No. 180 at 3-7.) Belue also filed

Objections to the Report maintaining that the Magistrate Judge erred in recommending Belue be


                                                6
 
    4:15-cv-04638-MGL          Date Filed 08/07/18       Entry Number 194         Page 7 of 12




denied qualified immunity for the § 1983 claims, and in applying the law to the facts under the

totality of the circumstances. (ECF No. 181 at 3-6.)

       The Court has fully considered the Objections raised by Myrtle Beach and Belue, as well

as the responses filed by the parties, and the record in this case. The Court however, overrules

the Objections and accepts the Magistrate Judge’s well-reasoned findings and recommendations.

       As it relates to Belue’s Objections, it is clear that he does not maintain any objection to

the Magistrate Judge’s recitation of the applicable law and summary of the relevant facts.

Instead, he objects to the application of the law to the facts in that the Magistrate Judge found

issues of fact preclude a grant of summary judgement in Belue’s favor. (ECF No. 181 at 3.) The

Magistrate Judge, however, appropriately declined to engage in a weighing of evidence as it

pertains to Belue’s actions in connection with the entry into Plaintiff’s apartment, execution of

the search warrant and the events that unfolded thereafter. As the Fourth Circuit recently held:

“[s]ummary judgment cannot be granted merely because the court believes that the movant will

prevail if the action is tried on the merits.” Variety Stores, Inc. v. Wal-Mart Stores, Inc., 888 F.3d

651, 659 (4th Cir. 2018).    At the summary judgment stage, the courts must also “refrain from

weighing the evidence or making credibility determinations.” Id. (internal citations and

quotations omitted). The Magistrate Judge was correct in her assertions about how a reasonable

jury may (or may not) consider the evidence. Construing the evidence in the light most favorable

to Plaintiff, this Court agrees with the Magistrate Judge that there are genuine issue of material

fact regarding Plaintiff’s unlawful entry and excessive force claims. Regarding Belue’s qualified

immunity defense, “[c]ourts have discretion to decide the order in which to engage [the two

prongs of the qualified immunity analysis]…But under either prong, courts may not resolve

genuine disputes of fact in favor of the party seeking summary judgment.” Tolan v. Cotton, 134


                                                  7
 
    4:15-cv-04638-MGL         Date Filed 08/07/18      Entry Number 194        Page 8 of 12




S. Ct. 1861, 1866 (2014). “This is not a rule specific to qualified immunity; it is simply an

application of the more general rule that a judge’s function at summary judgment is not to weigh

the evidence and determine the truth of the matter but to determine whether there is a genuine

issue for trial.” Id. (internal citations and quotations omitted). The Supreme Court’s “qualified-

immunity cases illustrate the importance of drawing inferences in favor of the nonmovant.” Id.

The Magistrate Judge appropriately applied this standard in the present case on Belue’s qualified

immunity defense. This Court does the same. For these reasons, the Court denies Belue’s

Motion for Summary Judgment as to Plaintiff’s Fourth Amendment causes of action for unlawful

entry and excessive force.

       The Court grants Belue’s Motion for Summary Judgment on the claim for Fourth and

Fourteenth Amendment tactical excessive force violations. Neither party has objected to the

Magistrate Judge’s recommendation concerning this claim and the Court finds no error in the

analysis.

       The Court also agrees with the Magistrate Judge’s assessment of Plaintiff’s state law

claims. (ECF No. 173 at 29-30.) Issues of fact remaining concerning Belue’s alleged unlawful

entry and alleged use of excessive force preclude a finding of statutory immunity for Belue under

the SCTCA. Thus, Belue’s Motion for Summary Judgment as to Plaintiff’s state law claims is

also denied.

       The Court has also carefully reviewed Myrtle Beach’s objections.               To hold a

governmental entity liable under § 1983, a plaintiff must prove that a policy or custom, or

ratification of a policy or custom by Myrtle Beach caused a constitutional violation. See Monell

v. New York City Dept. of Social Servs., 436 U.S. 658, 690–91 (1978); Spell v. McDaniel, 824

F.2d 1380, 1387 (4th Cir. 1987). In other words, “[m]unicipal policy may be expressed in


                                                8
 
    4:15-cv-04638-MGL          Date Filed 08/07/18      Entry Number 194        Page 9 of 12




legislative acts, like an ordinance or regulation; in a single action taken by a municipal official

with final policymaking authority in the relevant area; or even by the actions of a subordinate

official that a higher official ratifies.” U.S. Cold Storage, Inc. v. City of Lumberton, 34 F. App’x

429, 432–33 (4th Cir. 2002)(unpublished decision)(“)(internal quotations and citations omitted).

The Supreme Court has held that the district court should decide as a matter of law whether an

official has final policy making authority for the purposes of § 1983 litigation. Jett v. Dallas

Indep. Sch. Dist., 491 U.S. 701, 738 (1989).

       The Court agrees with the Magistrate Judge’s analysis of the policy making authority of

Myrtle Beach and Chief Gall based on state statute, which was subsequently delegated to the

DEU and the DEU governing board by virtue of the relevant Fifteenth Circuit Drug Enforcement

Unit Agreement (“Agreement”) and state statute. Chief Gall sat on the DEU governing board as

the head of a “participating law enforcement agency” in order to “set policy, approve the budget,

and provide general direction for DEU operations.” (ECF No. 173 at 33-36; ECF No. 142-5 at 3.)

Indeed, the Agreement specifically indicates that the operations of the DEU and local narcotics

departments were not intended to overlap. (ECF No. 142-5 at 3.) Thus, the DEU was to maintain

a “close working relationship with all participating agencies.” (ECF No. 142-5 at 3.) Chief Gall

himself testified that the role of the DEU governing board includes the provision of

administrative and operational oversight, and the approval of policies and procedures. (ECF No.

158-9 at 9.)

       As Myrtle Beach’s Objections demonstrate, the relationship between the DEU and Myrtle

Beach is a complicated one. But the Magistrate Judge gave appropriate care in considering the

relevant statutory provisions and the DEA Agreement which in fact highlights the unique

relationship between Myrtle Beach, the DEU, the DEU governing board and Myrtle Beach Chief


                                                 9
 
    4:15-cv-04638-MGL         Date Filed 08/07/18      Entry Number 194        Page 10 of 12




of Police Gall. In determining who makes policy in the context of Monell § 1983 liability, the

Supreme Court “has never reasoned that all policymaking authority must be vested in a single

body that either exercises that power or formally delegates it to another. Few local governments

would fit that rigid model.” McMillian v. Monroe Cty., Ala., 520 U.S. 781, 802 (1997). The

instant case highlights that point. For the reasons set forth herein and by the Magistrate Judge,

this Court finds as a matter of law that Myrtle Beach and Chief Gall had final policy making

authority over the DEU.

       As the Report illustrates, the next relevant questions are the existence of a custom or

policy, whether the City is liable for the action or inaction of the DEU as it relates to the search

warrant executions and whether the municipal policy or custom was the moving force behind a

particular constitutional violation. The ultimate conclusion of the Report as it pertains to Myrtle

Beach’s potential liability is simply that there is enough evidence in the record for a reasonable

jury to differ on these points of inquiry in the § 1983 analysis. The Magistrate Judge correctly

concluded there is a genuine issue of material fact on these issues. See Kopf v. Wing, 942 F.2d

265, 269 (4th Cir. 1991)(“[We think a fair-minded jury could find that the county has a custom

or practice of letting incidents of excessive force go unpunished.”); Trevino v. Gates, 99 F.3d

911, 920 (9th Cir. 1996)(“Normally, the question of whether a policy or custom exists would be

a jury question.”).

       In addition, there is evidence in the record from which a reasonable jury could conclude

that Myrtle Beach ratified the DEU’s conduct. Under the Agreement, the participating agencies

in the DEU assumed “all civil liability for actions of their assigned law enforcement agents

acting within the scope of his/her duties.” (ECF No. 142-5 at 7.) Participating agencies in the

DEU were charged with approving the Standard Operation Procedure Manual for the DEU. (ECF


                                                10
 
    4:15-cv-04638-MGL         Date Filed 08/07/18          Entry Number 194     Page 11 of 12




No. 142-5 at 9.) Additionally, Chief Gall signed the agreement on behalf of the Myrtle Beach

Police Department. (ECF No. 142-5 at 13.) These provisions constitute evidence from which a

jury could reasonably conclude that Myrtle Beach ratified, adopted or otherwise approved of the

action or inaction of the DEU. This concept was recognized in City of St. Louis v. Praprotnik,

485 U.S. 112 (1988), whereby “[i]f the authorized policymakers approve a subordinate’s

decision and the basis for it, their ratification would be chargeable to the municipality because

their decision is final.” City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988). “Ordinarily,

ratification is a question for the jury.” Christie v. Iopa, 176 F.3d 1231, 1238–39 (9th Cir. 1999).

       As the Magistrate Judge acknowledged, it is not appropriate for the Court to weigh in on

the factual issues in dispute as they pertain to Myrtle Beach’s potential liability and deliberate

indifference. Accordingly, the Court denies Myrtle Beach’s Motion for Summary Judgment on

Plaintiff’s claims for municipal liability under § 1983.

                                         CONCLUSION

       After careful de novo consideration of the relevant motions, objections and responses, the

undersigned adopts the Report and incorporates it herein by specific reference to the extent not

inconsistent. It is, therefore, ORDERED that Defendant Belue’s Motion for Summary Judgment

(ECF No. 149) is GRANTED in part and DENIED in part.                   Specifically, the motion is

GRANTED as to Plaintiff’s § 1983 claim for Fourth and Fourteenth Amendment tactical

excessive force violations, but DENIED as to all other claims against Belue.

       Additionally, the City of Myrtle Beach’s Motion for Summary Judgment (ECF No. 142)

is DENIED.



                                                               /s/ A. Marvin Quattlebaum, Jr.
                                                               United States District Judge

                                                 11
 
    4:15-cv-04638-MGL        Date Filed 08/07/18   Entry Number 194   Page 12 of 12




August 7, 2018
Greenville, South Carolina


 




                                            12
 
